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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                    Plaintiff(s),
                                                       Case No. 11-CR-20188
vs.
                                                       HON. GEORGE CARAM STEEH

D-5 BERNARD THOMAS EDMOND,

                Defendant(s).
_____________________________/

                 ORDER GRANTING MOTION TO WITHDRAW [#48]
                 AND SETTING STATUS CONFERENCE HEARING


      A motion having been filed by appointed counsel, William R. Ford, to withdraw as

attorney for defendant and after holding a hearing on July 30, 2012, with the defendant’s

concurrence, now therefore

      IT IS ORDERED that William R. Ford’s Motion to Withdraw is HEREBY GRANTED

and defendant’s request for substitute counsel is GRANTED. The Federal Defender Office

shall locate a panel attorney to represent the defendant.

      A status conference/hearing is hereby scheduled for     August 30, 2012 at

10:00 AM.



Dated: July 30, 2012
                                         s/George Caram Steeh
                                         GEORGE CARAM STEEH
                                         UNITED STATES DISTRICT JUDGE
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                               CERTIFICATE OF SERVICE

               Copies of this Order were served upon attorneys of record and
                               the Federal Defender Office on
                     July 30, 2012, by electronic and/or ordinary mail.

                                  s/Marcia Beauchemin
                                      Deputy Clerk
